              Case 2:17-cv-03242-DJH Document 83 Filed 04/04/18 Page 1 of 2




     PRICE LAW GROUP, APC
 1
     David A. Chami, AZ #027585
 2   8245 North 85th Way
     Scottsdale, AZ 85258
 3   P: 818-600-5515
 4   F: 866-401-1457
     david@pricelawgroup.com
 5   Attorneys for Plaintiff Kathleen Arthur
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                                   CENTRAL DISTRICT OF ARIZONA
 8

 9
     KATHLEEN ARTHUR,                                 Case No.: CV-17-03242-PHX-DJH
10
                      Plaintiff,                      NOTICE OF SETTLEMENT AS TO
11
             vs.                                      DEFENDANT EQUIFAX
12                                                    INFORMATION SERVICES, LLC.
     KEY BANK USA, N.A.; MACY’S,                      ONLY
13   INC.; DEPARTMENT STORES
14   NATIONAL BANK; VERIZON
     WIRELESS (VAW), LLC;
15   EXPERIAN INFORMATION
16   SOLUTIONS, INC.; EQUIFAX
     INFORMATION SERVICES LLC;
17   TRANSUNION, LLC,
18
                   Defendants.
19

20          NOTICE IS HEREBY GIVEN that Plaintiff, Kathleen Arthur, and Defendant, Equifax

21   Information Services, LLC (“Equifax”), have settled all claims between them in this matter. The
22
     parties are in the process of completing the final settlement documents and expect to file a
23
     Stipulated Dismissal with Prejudice within the next sixty (60) days. Plaintiff requests the Court
24

25   vacate all deadlines in this matter, as to Equifax only. Plaintiff further requests that the Court

26   retain jurisdiction for any matters related to completing and/or enforcing the settlement.
27

28

                                          NOTICE OF SETTLEMENT
                                                     -1-
              Case 2:17-cv-03242-DJH Document 83 Filed 04/04/18 Page 2 of 2




            RESPECTFULLY SUBMITTED,
 1

 2   Dated: April 4, 2018.                             PRICE LAW GROUP, APC.
 3                                                     By: /s/ David A. Chami
 4                                                     David A. Chami
                                                       david@pricelawgroup.com
 5                                                     Attorneys for Plaintiff Kathleen Arthur
 6

 7

 8

 9

10

11
                                         CERTIFICATE OF SERVICE
12

13   I hereby certify that on April 4, 2018, I electronically filed the foregoing with the Clerk of the
14
     Court using the ECF system, which will send notice of such filing to all attorneys of record in
15
     this matter. Since none of the attorneys of record are non-ECF participants, hard copies of the
16

17   foregoing have not been provided via personal delivery or by postal mail.

18
19
     /s/Maria Marsceill
20

21

22

23

24

25

26
27

28

                                           NOTICE OF SETTLEMENT
                                                      -2-
